                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

     MICHAEL W. ROGERS,                               )
                                                      )
                            Plaintiff,                )
                                                      )
     vs,                                              )
                                                      )
                                                               Case No.: 19-CV-3145-JAR-ADM
     SAM CLINE, et al,                                )
                                                      )
                             Defendant.               )
                                                      )

                     JOINT MOTION TO STAY ALL DEADLINES AND TO
                        CONTINUE THE CURRENT TRIAL SETTING

           Plaintiff Michael W. Rogers, by and through his attorney of record, and Defendant Richard

English, by and through his attorney of record, hereby file this Motion to stay all deadlines and to

continue the trial setting to the Court’s February 2023 docket, or the next available trial setting.

1.         This matter is currently set for jury trial beginning December 13, 2022 at 9:00 a.m. before

the Honorable Julie A. Robinson in Kansas City, Kansas. (ECF 148).

2.         On September 29, 2022, the Parties entered into a confidential settlement agreement,

subject to approval by the state finance council. See K.S.A. § 75-6106.

3.         Upon information and belief, the parties believe that it is unlikely that the state finance

council will convene before December 2022.

4.         Therefore, given that the state finance council will likely convene on the eve of the current

trial setting and the uncertainty as to whether it will approve the settlement, the parties have agreed

to stay all deadlines and to continue the trial to February 2023, or the Court’s next available three-

day trial setting.




4853-9249-3366
5.      Upon approval by the state finance council and final execution of the settlement agreement,

Plaintiff will promptly notify the Court.

        WHEREFORE, the parties respectfully request this Court stay all deadlines and continue

the trial to the Court’s February 2023 docket, or the next available three-day trial setting.


Dated: October 4, 2022                                  Respectfully submitted,

 /s/ Jordan Bergsten                                  /s/ Natasha M. Carter
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 William S. Walberg KS Bar No. 26854                  General Counsel
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4853-9249-3366
                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and accurate copy of the foregoing was served

via electronic mail on October 4, 2022 to the following:


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                                                    /s/ Jordan Bergsten
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